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                                EXHIBIT M –
              2016 Internal Medicine Rotation Evaluations
Main | Mail | Voluntary | Procedures | Clinical Hours | Learning | OnCall | MyPortfolio | Reports | Password | Logoff                                               Tuesday, November 28, 2017
Welcome, Dr. Jeffery Weisman (A)
Main > Evaluations To Sign > Acknowledge
Acknowledge
Inpatient Attending of Resident, v.2                                                                                                                                  Evaluation of Resident
Resident:                                        Jeffery Weisman (A)                              Evaluator:                              Amy Loden
Evaluation Period:                               11/07/16 - 11/20/16                              Rotation Name:                          Medicine II
The ACGME now requires that we use “milestones” to evaluate trainees. Instead of using numerical
assessments relative to their peers we will use behavioral descriptors which will show the development from
novice to expert (ie, attending level).
You will click the circle that best shows the trainee’s progress along the continuum, BASED ON DIRECT
OBSERVATIONS. Interns will generally be toward the left and residents should hopefully progress towards the
right. “Attending” should not be checked unless you have directly observed attending level performance of
that particular characteristic.




                                                                                                               Case: 4:19-cv-00075-JAR Doc. #: 245-12 Filed: 01/13/23 Page: 2 of 7 PageID #: 3395
Patient Care and Procedural Skills
Does not collect accurate and          Obtains an adequate history from      Efficiently acquires accurate and       Obtains relevant historical         Teaches how to gather subtle and
complete historical data.              the patient.                          relevant history from the patient       subtleties including sensitive,     reliable information from the
and from secondary sources (e.g.        complicated, and detailed           patient.
family, old records, pharmacy).         information.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Does not perform accurate physical Performs an adequate physical             Performs an accurate physical           Routinely identifies subtle or      Teaches how to elicit important
examinations.                       examination.                             exam, appropriately targeted to the     unusual physical findings, using    physical findings.
patient's problems, including using     advanced maneuvers where
relevant maneuvers.                     applicable.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Care plans are inappropriate or        Develops an appropriate care plan     Appropriately modifies care plans       Consistently develops appropriate   Role models and teaches complex
inaccurate.                            for most common medical               based on patient's clinical course      care plans for even complex         and patient-centered care.
problems.                              and additional data.                   medical problems.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Does not seek additional guidance      Usually seeks additional guidance     Consistently seeks additional       Initiates management plans for          Appropriately manages situations
when needed. Does not recognize        when needed.                          guidance and/or consultation as     urgent or emergent care.                requiring urgent or emergent care.
or react to situations that require                                          appropriate. Recognizes situations
urgent or emergent care.                                                     requiring urgent or emergent care.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Medical Knowledge
Lacks the knowledge required to        Developing the knowledge to           Demonstrates sufficient knowledge Demonstrates sufficient                   Demonstrates sufficient knowledge
provide patient care.                  diagnose and treat common             to diagnose and treat common       knowledge to diagnose and treat          to evaluate and treat complex,
conditions.                            conditions.                       undifferentiated and emergent             ambiguous and complex medical
conditions.                               conditions.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Lacks foundational knowledge of        Usually interprets basic diagnostic    Consistently interprets basic               Interprets complex diagnostic tests     Teaches the rationale for ordering
diagnostic testing and procedures.     tests accurately. Developing an        diagnostic tests accurately.                accurately and uses results to          diagnostic tests, interpretations of
understanding of the rationale and     Understands the rationale and risks        make appropriate clinical                results, and the concepts of pre-
risks associated with common           associated with common                     decisions.                               test probability and test
procedures.                            procedures.                                                                         performance characteristics.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
Practice-Based Learning and Improvement
Responds to feedback in a defensive             Is open to feedback and works to                   Welcomes feedback. Consistently                       Solicits feedback and performance reflects
fashion.                                        incorporate feedback into practice.                incorporates feedback.                                incorporation of feedback.
Concerning                                         Expected PGY-1                                              Expected PGY-2                                          Expected PGY-3




                                                                                                                Case: 4:19-cv-00075-JAR Doc. #: 245-12 Filed: 01/13/23 Page: 3 of 7 PageID #: 3396
0 - No Interaction
Fails to seek or apply evidence        Identifies learning needs (clinical    Accesses medical information                Appraises the quality of medical        Teaches and role models the
when necessary.                        questions) as they emerge in           resources to answer clinical                information resources and selects       practice of evidence based
patient care activities.               questions and support decision             among them based on the                  medicine.
making.                                    characteristics of the clinical
question.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
Professionalism
Is unreliable in completing patient    Sometimes needs reminders to           Is punctual and dependable in                 Prioritizes multiple competing        Assists others to improve their
care responsibilities or               complete patient care                  completing tasks and responds               demands in order to complete            ability to prioritize multiple
administrative tasks.                  responsibilities or administrative     promptly to calls and pages.                tasks and responsibilities in a         competing tasks.
tasks.                                                                            timely and effective manner.
Concerning                              Emerging skills                          Expected PGY-1                                  Expected PGY-2                              Expected PGY-3
0 - No Interaction
Is unwilling to modify care plan to    With assistance, can modify care        Modifies care plan to account for a Consistently modifies care plan to             Role models professional
account for a patient's unique         plan to account for a patient's        patient's unique characteristics and account for a patient's unique                 interactions to negotiate
characteristics and needs.             unique characteristics and needs.      needs.                                characteristics, needs, and                   differences related to a patient's
personal preferences.                        unique characteristics or needs.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
System-Based Practices
Ignores cost issues in the provision Learning to recognize that social        Consistently recognizes that social         Incorporates cost-awareness             Teaches patients and healthcare
of care.                             and economic factors may act as          and economic factors influence a            principles into clinical decision-      team members to recognize and
barriers to care.                       patients' utilization of health care.      making.                                  address common barriers to cost-
Minimizes unnecessary diagnostic                                                   effective care and appropriate
and therapeutic tests.                                                             utilization of resources.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
Interpersonal and Communication Skills
Engages in antagonistic or counter- Has respectful relationships with         Learning to engage in                       Quickly establishes a therapeutic       Models cross-cultural
therapeutic relationships with      patients and caregivers. May defer        communication with persons of               relationships with patients and         communication and establishes
patients and caregivers.            difficult or ambiguous                    different socioeconomic and                 caregivers, including persons of        therapeutic relationship with
conversations to others.                 cultural backgrounds. Learning to           different socioeconomic and             persons of diverse socioeconomic
facilitate discussions in difficult or     cultural backgrounds.                   backgrounds.
ambiguous conversations.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
Evaluator Comments
. Did you provide direct feedback on this evaluation?: Yes. Signed - Dr. Amy Loden
Program Director Comments
Comments Not Available
Acknowledgement Comments (Provide feedback on the results of your evaluation)
Did the evaluator provide you with direct feedback on this evaluation?        (Select One)     (Required)
I Acknowledge Receipt of this Evaluation            Cancel
NOTE:    By clicking the Cancel button above, your comments on this evaluation will be ignored and you will again be scheduled to review this evaluation.
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are confidential and should not be distributed outside the relevant review committees, and appropriate hospital personnel.




                                                                                                             Case: 4:19-cv-00075-JAR Doc. #: 245-12 Filed: 01/13/23 Page: 4 of 7 PageID #: 3397
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Welcome, Dr. Jeffery Weisman (A)
Main > Evaluations To Sign > Acknowledge
Acknowledge
Inpatient Attending of Resident, v.2                                                                                                                                  Evaluation of Resident
Resident:                                      Jeffery Weisman (A)                               Evaluator:                          Gina LaRossa
Evaluation Period:                             12/05/16 - 12/18/16                               Rotation Name:                      Medicine II
The ACGME now requires that we use “milestones” to evaluate trainees. Instead of using numerical
assessments relative to their peers we will use behavioral descriptors which will show the development from
novice to expert (ie, attending level).
You will click the circle that best shows the trainee’s progress along the continuum, BASED ON DIRECT
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                                                                                                               Case: 4:19-cv-00075-JAR Doc. #: 245-12 Filed: 01/13/23 Page: 5 of 7 PageID #: 3398
Patient Care and Procedural Skills
Does not collect accurate and          Obtains an adequate history from      Efficiently acquires accurate and       Obtains relevant historical         Teaches how to gather subtle and
complete historical data.              the patient.                          relevant history from the patient       subtleties including sensitive,     reliable information from the
and from secondary sources (e.g.        complicated, and detailed           patient.
family, old records, pharmacy).         information.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Does not perform accurate physical Performs an adequate physical             Performs an accurate physical           Routinely identifies subtle or      Teaches how to elicit important
examinations.                       examination.                             exam, appropriately targeted to the     unusual physical findings, using    physical findings.
patient's problems, including using     advanced maneuvers where
relevant maneuvers.                     applicable.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Care plans are inappropriate or        Develops an appropriate care plan     Appropriately modifies care plans       Consistently develops appropriate   Role models and teaches complex
inaccurate.                            for most common medical               based on patient's clinical course      care plans for even complex         and patient-centered care.
problems.                              and additional data.                   medical problems.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Does not seek additional guidance      Usually seeks additional guidance     Consistently seeks additional       Initiates management plans for          Appropriately manages situations
when needed. Does not recognize        when needed.                          guidance and/or consultation as     urgent or emergent care.                requiring urgent or emergent care.
or react to situations that require                                          appropriate. Recognizes situations
urgent or emergent care.                                                     requiring urgent or emergent care.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Medical Knowledge
Lacks the knowledge required to        Developing the knowledge to           Demonstrates sufficient knowledge Demonstrates sufficient                   Demonstrates sufficient knowledge
provide patient care.                  diagnose and treat common             to diagnose and treat common       knowledge to diagnose and treat          to evaluate and treat complex,
conditions.                            conditions.                       undifferentiated and emergent             ambiguous and complex medical
conditions.                               conditions.
Expected PGY-1                             Expected PGY-2                            Expected PGY-3
Concerning                                                                                                                                                           Attending level
level                                      level                                     level
0 - No Interaction
Lacks foundational knowledge of        Usually interprets basic diagnostic    Consistently interprets basic               Interprets complex diagnostic tests     Teaches the rationale for ordering
diagnostic testing and procedures.     tests accurately. Developing an        diagnostic tests accurately.                accurately and uses results to          diagnostic tests, interpretations of
understanding of the rationale and     Understands the rationale and risks        make appropriate clinical                results, and the concepts of pre-
risks associated with common           associated with common                     decisions.                               test probability and test
procedures.                            procedures.                                                                         performance characteristics.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
Practice-Based Learning and Improvement
Responds to feedback in a defensive             Is open to feedback and works to                   Welcomes feedback. Consistently                       Solicits feedback and performance reflects
fashion.                                        incorporate feedback into practice.                incorporates feedback.                                incorporation of feedback.
Concerning                                         Expected PGY-1                                              Expected PGY-2                                          Expected PGY-3




                                                                                                                Case: 4:19-cv-00075-JAR Doc. #: 245-12 Filed: 01/13/23 Page: 6 of 7 PageID #: 3399
0 - No Interaction
Fails to seek or apply evidence        Identifies learning needs (clinical    Accesses medical information                Appraises the quality of medical        Teaches and role models the
when necessary.                        questions) as they emerge in           resources to answer clinical                information resources and selects       practice of evidence based
patient care activities.               questions and support decision             among them based on the                  medicine.
making.                                    characteristics of the clinical
question.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
Professionalism
Is unreliable in completing patient    Sometimes needs reminders to           Is punctual and dependable in                 Prioritizes multiple competing        Assists others to improve their
care responsibilities or               complete patient care                  completing tasks and responds               demands in order to complete            ability to prioritize multiple
administrative tasks.                  responsibilities or administrative     promptly to calls and pages.                tasks and responsibilities in a         competing tasks.
tasks.                                                                            timely and effective manner.
Concerning                              Emerging skills                          Expected PGY-1                                  Expected PGY-2                              Expected PGY-3
0 - No Interaction
Is unwilling to modify care plan to    With assistance, can modify care        Modifies care plan to account for a Consistently modifies care plan to             Role models professional
account for a patient's unique         plan to account for a patient's        patient's unique characteristics and account for a patient's unique                 interactions to negotiate
characteristics and needs.             unique characteristics and needs.      needs.                                characteristics, needs, and                   differences related to a patient's
personal preferences.                        unique characteristics or needs.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
System-Based Practices
Ignores cost issues in the provision Learning to recognize that social        Consistently recognizes that social         Incorporates cost-awareness             Teaches patients and healthcare
of care.                             and economic factors may act as          and economic factors influence a            principles into clinical decision-      team members to recognize and
barriers to care.                       patients' utilization of health care.      making.                                  address common barriers to cost-
Minimizes unnecessary diagnostic                                                   effective care and appropriate
and therapeutic tests.                                                             utilization of resources.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
Interpersonal and Communication Skills
Engages in antagonistic or counter- Has respectful relationships with         Learning to engage in                       Quickly establishes a therapeutic       Models cross-cultural
therapeutic relationships with      patients and caregivers. May defer        communication with persons of               relationships with patients and         communication and establishes
patients and caregivers.            difficult or ambiguous                    different socioeconomic and                 caregivers, including persons of        therapeutic relationship with
conversations to others.                 cultural backgrounds. Learning to           different socioeconomic and             persons of diverse socioeconomic
facilitate discussions in difficult or     cultural backgrounds.                   backgrounds.
ambiguous conversations.
Expected PGY-1                              Expected PGY-2                                 Expected PGY-3
Concerning                                                                                                                                                                     Attending level
level                                       level                                          level
0 - No Interaction
Evaluator Comments
I enjoyed working with Jeff on inpatient medicine. He was a hard worker and took excellent care of his patients.
Appreciated his dry sense of humor.. Did you provide direct feedback on this evaluation?: No. Signed - Dr. Gina
LaRossa
Program Director Comments
Comments Not Available
Acknowledgement Comments (Provide feedback on the results of your evaluation)
Did the evaluator provide you with direct feedback on this evaluation?        (Select One)     (Required)
I Acknowledge Receipt of this Evaluation            Cancel
NOTE:    By clicking the Cancel button above, your comments on this evaluation will be ignored and you will again be scheduled to review this evaluation.
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                                                                                                             Case: 4:19-cv-00075-JAR Doc. #: 245-12 Filed: 01/13/23 Page: 7 of 7 PageID #: 3400
